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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
_____________________________________________

NATALIYA PINYUK on behalf of herself and
all other similarly situated consumers

                             Plaintiff,

             -against-

MERCANTILE ADJUSTMENT BUREAU, LLC

                        Defendant.
_____________________________________________

                              CLASS ACTION COMPLAINT

                                          Introduction

1.    Plaintiff, Nataliya Pinyuk, brings this action against Mercantile Adjustment Bureau, LLC

      for violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq.

      (“FDCPA”). The FDCPA prohibits debt collectors from engaging in abusive, deceptive

      and unfair collection practices while attempting to collect on debts.

                                             Parties

2.    Plaintiff is a citizen of the State of New York who resides within this District.

3.    Plaintiff is a consumer as that term is defined by Section 1692(a)(3) of the FDCPA, in

      that the alleged debt that Defendant sought to collect from Plaintiff a consumer debt.

4.    Upon information and belief, Defendant's principal place of business is located in

      Williamsville, New York.

5.    Defendant is regularly engaged, for profit, in the collection of debts allegedly owed by

      consumers.

6.    Defendant is a “debt collector” as that term is defined by the FDCPA, 15 U.S.C. §

      1692(a)(6).



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                                     Jurisdiction and Venue

7.    This Court has federal question jurisdiction under 15 U.S.C. § 1692k(d) and 28 U.S.C. §

      1331.

8.    Venue is proper in this district pursuant to 28 U.S.C. § 1391(b), as the acts and

      transactions that give rise to this action occurred, in substantial part, in this district.

                          Allegations Particular to Nataliya Pinyuk

9.    Upon information and belief, on a date better known by Defendant, Defendant began to

      attempt to collect an alleged consumer debt from the Plaintiff.

10.   On or about October 27, 2016, Defendant sent the Plaintiff a collection letter.

11.   The October 27, 2016 letter stated in part: “The account balance may periodically

      increase due to the addition of accrued interest as provided in your agreement with the

      original creditor or as otherwise provided by law.”

12.   15 U.S.C. § 1692g provides that within five days after the initial communication with a

      consumer in connection with the collection of any debt, a debt collector shall, unless the

      information is contained in the initial communication or the consumer has paid the debt,

      send the consumer a written notice containing certain enumerated information.

13.   One such requirement is that the debt collector provide “the amount of the debt.” 15

      U.S.C. § 1692g(a)(1).

14.   A debt collector has the obligation not just to convey the amount of the debt, but to

      convey such clearly.

15.   15 U.S.C. § 1692e prohibits a debt collector from using any false, deceptive, or

      misleading representation or means in connection with the collection of any debt.

16.   The question of whether a collection letter is deceptive is determined from the

      perspective of the “least sophisticated consumer.”



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17.   While § 1692e specifically prohibits certain practices, the list is non-exhaustive, and does

      not preclude a claim of falsity or deception based on any non-enumerated practice.

18.   A collection letter is deceptive under 15 U.S.C. § 1692e if it can reasonably be read by

      the least sophisticated consumer to have two or more meanings, one of which is

      inaccurate.

19.   A collection letter is also deceptive under 15 U.S.C. § 1692e if it is reasonably

      susceptible to an inaccurate reading by the least sophisticated consumer.

20.   The October 27, 2016 letter failed to inform Plaintiff whether the amount listed is the

      actual amount of the debt due.

21.   The October 27, 2016 letter failed to inform Plaintiff whether the amount listed already

      includes “accrued interest.”

22.   The October 27, 2016 letter failed to advise Plaintiff what portion of the amount listed is

      principal.

23.   The October 27, 2016 letter failed to inform Plaintiff whether the amount listed will

      increase.

24.   The October 27, 2016 letter failed to inform Plaintiff if there is “accrued interest,” what

      the amount of the accrued interest will be.

25.   The October 27, 2016 letter failed to inform Plaintiff if there is “accrued interest,” when

      such interest will be applied.

26.   The October 27, 2016 letter failed to inform Plaintiff if there is “accrued interest,” what

      the interest rate is.

27.   The October 27, 2016 letter failed to inform Plaintiff if there is “accrued interest,” the

      amount of money the amount listed will increase per day.

28.   The October 27, 2016 letter failed to inform Plaintiff if there is “accrued interest,” the



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      amount of money the amount listed will increase per week.

29.   The October 27, 2016 letter failed to inform Plaintiff if there is “accrued interest,” the

      amount of money the amount listed will increase per month.

30.   The October 27, 2016 letter failed to inform Plaintiff if there is “accrued interest,” the

      amount of money the amount listed will increase per any measurable period.

31.   The October 27, 2016 letter fails to indicate the minimum amount Plaintiff owed at the

      time of the letter.

32.   The October 27, 2016 letter fails to provide information that would allow the least

      sophisticated consumer to determine the minimum amount he or she owes at the time of

      the letter.

33.   The October 27, 2016 letter fails to provide information that would allow the Plaintiff to

      determine what Plaintiff will need to pay to resolve the debt at any given moment in the

      future.

34.   The October 27, 2016 letter, because of the aforementioned failures, would render the

      least sophisticated consumer unable to determine the amount of his or her debt.

35.   The least sophisticated consumer could reasonably believe that the debt could be satisfied

      by remitting the listed amount as of the date of the letter, at any time after receipt of the

      letter.

36.   The least sophisticated consumer could reasonably believe that the amount listed was

      accurate only on the date of the October 27, 2016 letter.

37.   If interest is continuing to accrue, the least sophisticated consumer would not know the

      amount of the debt because the letter fails to indicate the applicable interest rate.

38.   If interest is continuing to accrue, the least sophisticated consumer would not know the

      amount of the debt because the letter fails to indicate what the amount of the accrued



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           interest will be.

39.        If interest is continuing to accrue, the least sophisticated consumer would not know the

           amount of the debt because the letter fails to indicate when such interest will be applied.

40.        If interest is continuing to accrue, the least sophisticated consumer would not know the

           amount of the debt because the letter fails to indicate the amount of money the amount

           listed will increase at any measurable period.1

41.        The letter failed to advise Plaintiff that if Plaintiff pays the amount listed, an adjustment

           may be necessary after Defendant receives payment.

42.        The letter failed to advise Plaintiff that if Plaintiff pays the amount listed, Defendant will

           inform Plaintiff of the balance difference before depositing payment.

43.        The Defendant’s failures are purposeful.

44.        In order to induce payments from consumers that would not otherwise be made if the

           consumer knew the true amount due, Defendant does not inform the consumer whether

           the amount listed will increase.

45.        Defendant failed to clearly and unambiguously state the amount of the debt, in violation

           of 15 U.S.C. § 1692g(a)(1).

46.        The October 27, 2016 letter would likely make the least sophisticated consumer uncertain

           as to the amount of the debt, in violation of 15 U.S.C. § 1692g(a)(1).

47.        The October 27, 2016 letter would likely make the least sophisticated consumer confused

           as to the amount of the debt, in violation of 15 U.S.C. § 1692g(a)(1).

48.        Defendant’s conduct constitutes a false, deceptive and misleading means and

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  Carlin v. Davidson Fink LLP, 852 F.3d 207 (2d Cir. 2017), Balke v. All. One Receivables Mgmt., No. 16-cv-5624(ADS)(AKT), 2017 U.S.
Dist. LEXIS 94021, at *14 (E.D.N.Y. June 19, 2017) ("[T]he Collection Letter in this case refers with vagueness to "accrued interest or other
charges," without providing any information regarding the rate of interest; the nature of the "other charges"; how any such charges would be
calculated; and what portion of the balance due, if any, reflects already-accrued interest and other charges. By failing to provide even the most
basic level of specificity in this regard, the Court "cannot say whether those amounts are properly part of the amount of the debt," for purposes of
section 1692g.Carlin, 852 F.3d at 216. Further, as set forth in Carlin, without any clarifying details, the Collection Letter states only that these
unspecified assessments may be added to the balance due, which the Court finds to be insufficient to "accurately inform[ ] the [Plaintiff] that the
amount of the debt stated in the letter will increase over time.")



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      representation in connection with the collection of the debt, in violation of 15 U.S.C. §

      1692e.

49.   The October 27, 2016 letter can reasonably be read by the least sophisticated consumer to

      have two or more meanings concerning the actual balance due, one of which must is

      inaccurate, in violation of 15 U.S.C. § 1692e.

50.   Defendant's conduct violated 15 U.S.C. §§ 1692g(a)(1) and 1692e.

51.   Plaintiff suffered injury in fact by being subjected to unfair and abusive practices of the

      Defendant.

52.   Plaintiff suffered actual harm by being the target of the Defendant's misleading debt

      collection communications.

53.   Defendant violated the Plaintiff's right not to be the target of misleading debt collection

      communications.

54.   Defendant violated the Plaintiff's right to a truthful and fair debt collection process.

55.   Defendant used materially false, deceptive, misleading representations and means in its

      attempted collection of Plaintiff's alleged debt.

56.   Defendant's communications were designed to cause the debtor to suffer a harmful

      disadvantage in charting a course of action in response to Defendant's collection efforts.

57.   The FDCPA ensures that consumers are fully and truthfully apprised of the facts and of

      their rights, the act enables them to understand, make informed decisions about, and

      participate fully and meaningfully in the debt collection process. The purpose of the

      FDCPA is to provide information that helps consumers to choose intelligently. The

      Defendant's false representations misled the Plaintiff in a manner that deprived her of her

      right to enjoy these benefits, these materially misleading statements trigger liability under

      section 1692e of the Act.



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58.   These deceptive communications additionally violated the FDCPA since they frustrate

      the consumer’s ability to intelligently choose his or her response.

59.   Plaintiff seeks to end these violations of the FDCPA. Plaintiff has suffered damages

      including but not limited to, fear, stress, mental anguish, emotional stress and acute

      embarrassment. Plaintiff and putative class members are entitled to preliminary and

      permanent injunctive relief, including, declaratory relief, and damages.

                                      CLASS ALLEGATIONS

60.   This action is brought as a class action. Plaintiff brings this action on behalf of herself

      and on behalf of all other persons similarly situated pursuant to Rule 23 of the Federal

      Rules of Civil Procedure.

61.   The identities of all class members are readily ascertainable from the records of

      Mercantile Adjustment Bureau, LLC and those business and governmental entities on

      whose behalf it attempts to collect debts.

62.   Excluded from the Plaintiff's Class is the Defendant and all officers, members, partners,

      managers, directors, and employees of Mercantile Adjustment Bureau, LLC, and all of

      their respective immediate families, and legal counsel for all parties to this action and all

      members of their immediate families.

63.   There are questions of law and fact common to the Plaintiff's Class, which common

      issues predominate over any issues involving only individual class members.              The

      principal issues are whether Defendant's communications with the Plaintiff, such as the

      above stated claims, violate provisions of the Fair Debt Collection Practices Act.

64.   The Plaintiff's claims are typical of the class members, as all are based upon the same

      facts and legal theories.




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65.   The Plaintiff will fairly and adequately protect the interests of the Plaintiff's Class defined

      in this complaint. The Plaintiff has retained counsel with experience in handling

      consumer lawsuits, complex legal issues, and class actions, and neither the Plaintiff nor

      her attorneys have any interests, which might cause them not to vigorously pursue this

      action.

66.   This action has been brought, and may properly be maintained, as a class action pursuant

      to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a

      well-defined community interest in the litigation:

         (a)      Numerosity: The Plaintiff is informed and believes, and on that basis alleges,

                  that the Plaintiff's Class defined above is so numerous that joinder of all

                  members would be impractical.

         (b)      Common Questions Predominate: Common questions of law and fact exist

                  as to all members of the Plaintiff's Class and those questions predominate

                  over any questions or issues involving only individual class members. The

                  principal issues are whether the Defendant's communications with the

                  Plaintiff, such as the above stated claims, violate provisions of the Fair Debt

                  Collection Practices Act.

         (c)      Typicality: The Plaintiff's claims are typical of the claims of the class

                  members. Plaintiff and all members of the Plaintiff's Class defined in this

                  complaint have claims arising out of the Defendant's common uniform

                  course of conduct complained of herein.

         (d)      Adequacy: The Plaintiff will fairly and adequately protect the interests of

                  the class members insofar as Plaintiff has no interests that are adverse to the

                  absent class members. The Plaintiff is committed to vigorously litigating



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                  this matter. Plaintiff has also retained counsel experienced in handling

                  consumer lawsuits, complex legal issues, and class actions. Neither the

                  Plaintiff nor her counsel have any interests, which might cause them not to

                  vigorously pursue the instant class action lawsuit.

         (e)      Superiority: A class action is superior to the other available means for the

                  fair and efficient adjudication of this controversy because individual

                  joinder of all members would be impracticable. Class action treatment

                  will permit a large number of similarly situated persons to prosecute their

                  common claims in a single forum efficiently and without unnecessary

                  duplication of effort and expense that individual actions would engender.

                  Certification of a class under Rule 23(b)(l)(A) of the Federal Rules of Civil

                  Procedure is appropriate because adjudications with respect to individual

                  members create a risk of inconsistent or varying adjudications which could

                  establish incompatible standards of conduct for Defendant who, on

                  information and belief, collects debts throughout the United States of

                  America.

67.   Certification of a class under Rule 23(b)(2) of the Federal Rules of Civil Procedure is

      also appropriate in that a determination that the above stated claims, violate provisions of

      the Fair Debt Collection Practices Act, and is tantamount to declaratory relief and any

      monetary relief under the FDCPA would be merely incidental to that determination.

68.   Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure is

      also appropriate in that the questions of law and fact common to members of the

      Plaintiff's Class predominate over any questions affecting an individual member, and a




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         class action is superior to other available methods for the fair and efficient adjudication of

         the controversy.

69.      Further, Defendant has acted, or failed to act, on grounds generally applicable to the Rule

         (b)(l)(A) and (b)(2) Class, thereby making appropriate final injunctive relief with respect

         to the Class as a whole.

70.      Depending on the outcome of further investigation and discovery, Plaintiff may, at the

         time of class certification motion, seek to certify one or more classes only as to particular

         issues pursuant to Fed. R. Civ. P. 23(c)(4).

                                       CAUSE OF ACTION

      Violations of the Fair Debt Collection Practices Act brought by Plaintiff on behalf of
                  herself and the members of a class, as against the Defendant.

71.      Plaintiff repeats, reiterates, and incorporates the allegations contained in paragraphs

         numbered one (1) through seventy (70) herein with the same force and effect is if the

         same were set forth at length herein.

72.      This cause of action is brought on behalf of Plaintiff and the members of a class.

73.      The class involves all individuals whom Defendant's records reflect resided in the State

         of New York and who were sent a collection letter in substantially the same form letter as

         the letter sent to the Plaintiff on or about October 27, 2016; and (a) the collection letter

         was sent to a consumer seeking payment of a personal debt; and (b) the collection letter

         was not returned by the postal service as undelivered; and (c) the Plaintiff asserts that the

         letter contained violations of 15 U.S.C. §§ 1692e and 1692g(a)(1) for the use of any false

         representation or deceptive means to collect or attempt to collect any debt, for

         misrepresenting the amount of the debt owed by Plaintiff and for failing to accurately

         state the amount of the debt in the initial communication.




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                           Violations of the Fair Debt Collection Practices Act

74.     The Defendant's actions as set forth above in the within complaint violates the Fair Debt

        Collection Practices Act.

75.     Because the Defendant violated the Fair Debt Collection Practices Act, the Plaintiff and

        the members of the class are entitled to damages in accordance with the Fair Debt

        Collection Practices Act.

WHEREFORE, Plaintiff, respectfully requests preliminary and permanent injunctive relief, and that this

Court enter judgment in Plaintiff's favor and against the Defendant and award damages as follows:

        (a)     Statutory damages provided under the FDCPA, 15 U.S.C. § 1692(k);

        (b)     Attorney fees, litigation expenses and costs incurred in bringing this action; and

        (c)     Any other relief that this Court deems appropriate and just under the

                circumstances.

Dated: Brooklyn, New York
       October 16, 2017


                                                   /s/ Maxim Maximov_____
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Plaintiff requests trial by jury on all issues so triable.

                                                   /s/ Maxim Maximov_____
                                                  Maxim Maximov, Esq.




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